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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY

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      In Re:                                                       Chapter 11

      LTL MANAGEMENT, LLC,1                                        Case No.: 23-12825 (MBK)

                                 Debtor.                           Honorable Michael B. Kaplan


                   FINAL APPLICATION OF MASSEY & GAIL LLP,
        SPECIAL COUNSEL TO THE OFFICIAL COMMITTEE OF TALC CLAIMANTS,
           FOR ALLOWANCE OF FEES AND REIMBURSEMENT OF EXPENSES
             FOR THE PERIOD OF APRL 4, 2023 THROUGH AUGUST 11, 2023

               Massey & Gail LLP (the “Applicant” or “Massey & Gail”), special counsel to the Official

     Committee of Talc Claimants (“TCC”) submits this final application (the “Application”) pursuant

     to 11 U.S.C. §§ 330 and 331, Fed. R. Bankr. P. 2016, the Order Establishing Procedures for Interim

     Compensation and Reimbursement of Retained Professionals (Docket No. 562) and the Order

     Dismissing Chapter 11 Petition (Docket No. 1211), for allowance of compensation and

     reimbursement of expenses for the period of April 4, 2023 through August 11, 2023 (the “Final

     Statement Period”).2         By and through this Application, the Applicant seeks allowance of

     compensation in the amount of $ 2,137,547.00 for services rendered during the Final Statement

     Period. Applicant further seeks allowance and reimbursement of its actual and necessary expenses

     in the amount of $ 8,110.75 for the Final Statement Period. In support thereof, the Applicant

     respectfully states as follows:




         1 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501
     George Street, New Brunswick, New Jersey 08933.
         2 The within final fee application includes time and expenses for the period 4/4/23 through 4/14/23, as a
     motion is pending before the court to make the effective date of the retention of TCC professionals 4/4/23, or to
     allow the fees and expenses for such period as a substantial contribution to this bankruptcy case.


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                                            BACKGROUND

             1.    On April 4, 2023, LTL Management LLC (the “Debtor”) filed a voluntary petition

     for relief under Chapter 11 of the Bankruptcy Code in the U.S. Bankruptcy Court for the District

     of New Jersey (the “Bankruptcy Court”). (Docket No. 1.)

             2.    On April 14, 2023, the United States Trustee filed a Notice of Appointment of

     Official Committee of Talc Claimants. (Docket No. 162.)

             3.    On April 19, 2023, the TCC filed an Application of the Proposed Official

     Committee of Talc Claimants for Reauthorization of Pro Hac Vice Orders (Docket No. 233)

     selecting Massey & Gail to serve as special counsel.

             4.    On April 27, 2023, the Court approved the TCC’s Application of the Proposed

     Official Committee of Talc Claimants for Reauthorization of Pro Hac Vice Orders (Docket No.

     342.)

             5.    On May 3, 2023, Massey & Gail filed an Application for Retention, effective as of

     April 14, 2023. (Docket No. 402.)

             6.    On June 5, 2023, Massey & Gail filed a supplemental certification in support of

     retention. (Docket No. 698.)

             7.    On June 14, 2023, the Court approved the employment of Massey & Gail as counsel

     to the TCC, effective April 14, 2023, the date by which Massey & Gail had begun rendering legal

     services to the TCC. (Docket No. 777.)

             8.    On June 30, 2023, Applicant filed its first monthly fee statement (for the period of

     April 14 to May 31, 2023) seeking the payment of $521,783.98, representing fees in the amount

     of $647,013.50 (less 20% holdback of $129,402.70) and expenses in the amount of $4,173.18.

     (Docket No. 967.)




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             9.     On July 13, 2023, Applicant filed its second monthly fee statement (for the period

     of June 1 to June 30, 2023) seeking the payment of $544,743.39, representing fees in the amount

     of $677,430.00 (less 20% holdback of $135,486.00) and expenses in the amount of $2,799.39.

     (Docket No. 1026.)

             10.    On August 17, 2023, Applicant filed its third monthly fee statement (for the period

     of July 1 to July 31, 2023) seeking the payment of $451,724.80 representing fees in the amount of

     $564,656.00 (less 20% holdback of $112,931.20) and expenses in the amount of $ -0-. (Docket

     No. 1242.)

             11.    On August 25, 2023, Applicant filed its fourth monthly fee statement (for the period

     of August 1 to August 11, 2023) seeking the payment of $82,820.22 representing fees in the

     amount of $102,692.00 (less 20% holdback of $20,538.40) and expenses in the amount of $666.62.

     (Docket No. 1268.)

             12.    As of the date of the filing of this Application, the Applicant has been paid

     $1,066,507.37 from the Debtor.

             13.    The Applicant prepared and provided the TCC with a budget and staffing plan for

     its work during the Final Statement Period. The TCC approved the budget and staffing plan. The

     fees actually incurred and sought herein are lower than those approved in the Applicant’s budget.

     The staffing actually deployed is similar to the staffing plan. The staffing plan predicted use of 4

     partners, 1 counsel, 5 associates, 1 paralegal, and 1 case assistant. The actual staffing consisted of

     4 partners, 1 counsel, 6 associates, 1 paralegal, and 2 case assistants. The modest increase in

     associates and case assistants reflects necessary work done to meet the fast-paced demands of the

     case.   Massey & Gail played a significant role in formulating the legal strategy in response to

     LTL’s second bankruptcy filing, and in drafting numerous filings in this Court, including (i) the




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     opposition to LTL’s request extension of stay relief (which resulted in a limited order enjoining

     only the commencement or continuation of any trial or appeal against certain protected parties),

     (ii) the motion to dismiss and reply brief in support thereof (which ultimately resulted in dismissal

     of the case), and (iii) the findings of fact and conclusions of law following the motion to dismiss

     hearing. This work required extensive research and analysis regarding multiple novel legal

     questions, such as the exception to dismissal contained in Section 1112(b)(2), LTL’s argument

     that the 2021 Funding Agreement was void or voidable due to frustration of purpose, and issues

     involving the Plan Support Agreements (PSAs) signed by counsel supporting LTL’s bankruptcy.

     Massey & Gail was also tasked with handling appeals to the district court of this Court’s orders,

     prior to the July 28, 2023 dismissal decision.

            14.     Pursuant to paragraph (b)(1)(ii) of the UST Appendix A Guidelines and section

     C.2.g of the Appendix B Guidelines, Applicant states that no retainer exists in this case with respect

     to Applicant’s fees and expenses.

            15.     In accordance with paragraph (b)(1)(iii) of the UST Appendix A Guidelines and

     sections C.2.k and C.2.j the Appendix B Guidelines, Applicant states that its hourly rates did not

     change during the time period covered by the Final Fee Application.

            16.     Pursuant to paragraph (b)(1)(iii) of the UST Appendix A Guidelines and section

     C.3 of the Appendix B Guidelines, Applicant states that the requested compensation in the Final

     Fee Application is based on the customary compensation charged by comparably skilled

     practitioners in cases other than cases under title 11.

            17.     Pursuant to Fed. R. Bank. P. 2016, Applicant states that a copy of the Final Fee

     Application was transmitted to the United States Trustee.




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            18.     The following exhibits are annexed hereto in support of the within Application and

     incorporated herein.

            19.     Annexed hereto as Exhibit “A” is a comparison of the blended rates billed for this

     matter for Final Fee Period as compared with the those billed by categories of the Applicant’s

     timekeepers for the preceding year, excluding bankruptcy. The blended hourly rate (excluding

     travel time) for all timekeepers who billed time during the Final Fee Period was $793.65. The

     blended hourly rate for timekeepers excluding paralegals (and excluding travel time) who billed

     time during the Final Fee Period was $828.06.

            20.     Annexed hereto as Exhibit “B” is a summary of timekeepers included in this fee

     application.

            21.     Annexed hereto as Exhibit “C” is a copy of the Order entered on June 14, 2023

     authorizing the retention of Massey & Gail as special counsel to the TCC. (Docket No. 777.)

            22.     Annexed hereto as Exhibit “D” is a summary of compensation requested by project

     category (Ex. D-1) and a summary of expense reimbursement requested by category (Ex. D-2).

            23.     Annexed hereto as Exhibit “E” is a summary cover sheet of this fee application.

            24.     Annexed hereto as Exhibit “F” is an itemized list of all out-of-pocket disbursements

     necessarily incurred by the Applicant during the Final Fee Period totaling $8,110.75.

            25.     Annexed hereto as Exhibit “G” is a copy of the Applicant’s detailed time records

     for the time period April 4, 2023 through April 14, 2023. Those records, coupled with the time

     records previously submitted with Applicant’s monthly fee statements for May 1, 2023 through

     August 11, 2023, reflect that the Applicant has expended 2,715.9 hours in connection with

     performance of services in connection with performance of services for the TCC (beginning on

     April 4, 2023), resulting in fees in the amount of $2,137,547. The Applicant respectfully submits




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     that the hourly rates charged are fair and reasonable in light of the complexity of this case, nature

     of services provided, and the significant expertise of the professionals who rendered such services.

            26.     The TCC was provided with all of the monthly statements, including time detail,

     that comprise the fees and expenses being sought in the Application and have had an opportunity

     to object to or question any of the fees and expenses being sought.

            27.     Annexed hereto as Exhibit “H” is a Certification of Jonathan S. Massey in support

     of the within Application and made in accordance with Section 504 of the Bankruptcy Code.

                                SUMMARY OF SERVICES RENDERED

            28.     The Applicant provided significant services to the TCC in connection with this

     Chapter 11 case and in accordance with the Applicant’s professional responsibilities. Massey &

     Gail has focused on the novel and complex legal and procedural issues presented by this case, has

     responded to requests for counsel and advice from the TCC on a wide range of cutting-edge issues

     involved in this case, and has worked extensively on the briefing submitted to the Third Circuit

     and Bankruptcy Court on those questions.

            29.     During the period covered by the Final Fee Application, Massey & Gail provided

     services relating to the TCC’s motion to dismiss, LTL’s motion for stay relief, complex legal issues

     arising in the LTL’s second bankruptcy filing, appeals to the district court of this Court’s orders

     prior to the July 28, 2023 dismissal decision, , and overall legal strategy .

            30.     At all times, Massey & Gail has endeavored to coordinate work and avoid

     duplication with other law firms representing the TCC. Massey & Gail’s staffing has been lean

     and efficient, seeking to leverage the work product of the associates and support staff provided by

     other firms retained by the TCC and to supplement that work product only where needed by the

     specific projects assigned to Massey & Gail.




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            31.     Instead of duplicating the efforts of other firms, Massey & Gail has primarily

     focused on providing high-level legal analysis, strategic counseling and briefing on particularly

     difficult legal questions, based on the extensive experience of partner Jonathan Massey in asbestos,

     mass torts, and other complex litigation, dating back to his work in drafting the briefs in Georgine

     v. Amchem Prods., Inc., 683 F.3d 610 (3d Cir. 1996), Amchem Prods., Inc. v. Windsor, 521 U.S.

     591 (1997), and Ortiz v. Fibreboard Corp., 527 U.S. 815 (1999). Massey & Gail has been able to

     provide tailored and specialized representation that does not simply echo or duplicate the services

     of other firms. The services rendered by Massey & Gail were necessary to the administration of

     this Chapter 11 case and the representation of the interests of the members and creditors which

     compose the TCC. Such services included, but were not limited to:

               a. Advising the TCC on strategy and the novel legal and procedural issues in this case,

                   using Applicant’s experience in complex litigation before trial and appellate courts;

               b. Providing helpful continuity and background to the creditors, by virtue of the fact

                   that Massey & Gail was retained by the Committee in the first bankruptcy (“LTL I”)

                   and previously participated in the North Carolina proceedings on behalf of several

                   firms representing mesothelioma claimants who are now represented on the TCC;

               c. Drafting analyses of, and providing advice on numerous complex and difficult legal

                   questions (many of first impression) implicated in this case both in the Bankruptcy

                   Court and on appeal, including those pertaining to the Motion to Dismiss, the

                   Preliminary Injunction Motion, constitutional questions presented by the Debtor’s

                   bankruptcy petition, divisional merger transactions, jurisdictional issues, the

                   availability of relief under Section 524(g) of the Bankruptcy Code, among others;




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               d. Drafting and revising pleadings, including important briefing pertaining to the

                   Motion to Dismiss and the Preliminary Injunction Motion;

               e. Communicating extensively with co-counsel and committee members and

                   representatives regarding numerous critical issues by e-mail, telephone, in-person,

                   and video conference;

               f. Reviewing and analyzing key pleadings for purposes of making strategic

                   recommendations in this case;

               g. Participating in Court proceedings where appropriate (often remotely in order to

                   reduce costs) and advising co-counsel and committee representatives on strategic

                   issues in preparation for Court hearings.

            32.     The Applicant respectfully submits that the amount of compensation requested by

     the Applicant is fair and reasonable given the complexity of this case, time expensed, nature and

     extent of services rendered, the value of such services, and the costs of comparable services other

     than in a case under the Bankruptcy Code.

            WHEREFORE, the Applicant respectfully requests that this Court grant the Application

     and enter an Order granting allowance of compensation in the amount of $2,137,547 together with

     reimbursement of actual out-of-pocket disbursements in the amount of $8,110.75 for a total of

     $2,145,657.75.




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                                                  MASSEY & GAIL LLP


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